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             IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
In re:                               )
                                     ) Chapter 11
W.R. GRACE & CO., et al.,            ) Case No. 01-01139 (JKF)
                                     ) (Jointly Administered)
                  Debtors.           ) Objection Deadline: November 25, 2009 at 4:00 p.m.
____________________________________)  Hearing: December 14, 2009 at 10:30 a.m.



        NOTICE OF FILING OF EIGHTEENTH QUARTERLY INTERIM
           APPLICATION OF TOWERS PERRIN TILLINGHAST,
                    ACTUARIAL CONSULTANTS TO
            DAVID T. AUSTERN, ASBESTOS PI FUTURE CLAIMANTS'
        REPRESENTATIVE, FOR COMPENSATION AND REIMBURSEMENT
                 OF EXPENSES INCURRED FOR THE PERIOD
                    APRIL 1, 2009 THROUGH JUNE 30, 2009

TO:    (1) The Debtors; (2) Counsel to the Debtors; (3) The Office of the United States
       Trustee; (4) Counsel to the Official Committee of Unsecured Creditors;
       (5) Counsel to the Official Committee of Asbestos Personal Injury Claimants;
       (6) Counsel to the Official Committee of Asbestos Property Damage Claimants;
       (7) Counsel to the Official Committee of Equity Holders; (8) Counsel
       to the Debtors-in-Possession Lender; and (9) the Fee Auditor

       Towers Perrin Tillinghast ("Tillinghast"), has filed and served its Eighteenth

Quarterly Interim Application for Compensation and Reimbursement of Expenses

Incurred for the Period April 1, 2009 through June 30, 2009 seeking payment in the

amount of $1,322.50 and no expenses for a total of $1,322.50 (the “Application”).

       This Application is submitted pursuant to the Administrative Order Under 11

U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim Compensation and

Reimbursement for Expenses for Professionals and Official Committee Members signed

April 17, 2002, amending the Court's Administrative Order Pursuant to Sections 105(a)

and 331 of the Bankruptcy Code Establishing Procedures for Allowance and Payment of
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Monthly Interim Compensation and Reimbursement of Expenses of Professionals,

entered May 3, 2001 (collectively, the Administrative Order").

       Objections or responses to the Application, if any, must be made in writing and

filed with the United States Bankruptcy Court for the District of Delaware, Marine

Midland Plaza, 824 Market Street, Fifth Floor, Wilmington, DE 19801, on or before

November 25, 2009 at 4:00 p.m., Eastern Time.

       At the same time you must also serve a copy of the objections or responses, if

any, upon the following: (i) actuarial consultant to the FCR, Jennifer L. Biggs, Towers

Perrin Tillinghast, 101 S. Hanley Road, St. Louis, MO 63105; (ii) co-counsel to David T.

Austern, FCR, Roger Frankel, Esquire and Richard H. Wyron, Esquire, Orrick,

Herrington & Sutcliffe LLP, 1152 15th Street, NW, Washington, DC 20005 and John C.

Phillips, Esquire, Phillips, Goldman & Spence, P.A., 1200 North Broom Street,

Wilmington, DE 19806; (iii) co-counsel for the Debtors, David M. Bernick, Esquire,

Kirkland & Ellis LLP, 200 East Randolph Drive, Chicago, IL 60601 and Laura Davis

Jones, Esquire, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, Suite 1600,

P.O. Box 8705, Wilmington, DE 19899-8705; (iv) co-counsel to the Official Committee

of Unsecured Creditors, Lewis Kruger, Esquire, Stroock & Stroock & Lavan LLP, 180

Maiden Lane, New York, NY 10038-4982 and Michael R. Lastowski, Esquire, Duane

Morris, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246; (v) co-

counsel to the Official Committee of Asbestos Property Damage Claimants, Scott L.

Baena, Esquire, Blizin, Sumberg, Baena, Price & Axelrod, First Union Financial Center,

200 South Biscayne Boulevard, Suite 2500, Miami, FL 33131 and Michael B.


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Joseph, Esquire, Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351,

Wilmington, DE 19899; (vi) co-counsel to the Official Committee of Asbestos Personal

Injury Claimants, Elihu Inselbuch, Esquire, Caplin & Drysdale, 399 Park Avenue, 36th

Floor, New York, NY 10022 and Mark Hurford, Esquire, Campbell & Levine, LLC,

Chase Manhattan Centre, 15th Floor, 1201 Market Street, Suite 1500, Wilmington, DE

19801; (vi) co-counsel to the DIP Lender, J. Douglas Bacon, Esquire, Latham & Watkins,

Sears Tower, Suite 5800, Chicago, IL 60606 and Neil B. Glassman, Esquire, The Bayard

Firm, 222 Delaware Avenue, Suite 900, P.O. Box 25130, Wilmington, DE 19899; (vii)

counsel to the Official Committee of Equity Holders, Thomas Moers Mayer, Esquire,

Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue, New York, NY 10022; (viii)

the Office of the United States Trustee, ATTN: David M. Klauder, Esquire, 844 N. King

Street, Suite 2207, Lockbox 35, Wilmington, DE 19801; and (ix) the Fee Auditor,

Warren H. Smith, Warren H. Smith and Associates, Republic Center, 325 N. St. Paul,

Suite 1250, Dallas, TX 75201.




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       Any questions regarding this Notice or attachments may be directed to

undersigned counsel.

                                    ORRICK, HERRINGTON & SUTCLIFFE LLP

                                    By:/S/ DEBRA L. FELDER
                                      Roger Frankel, admitted pro hac vice
                                      Richard H. Wyron, admitted pro hac vice
                                      Debra L. Felder, admitted pro hac vice
                                      1152 15th Street, NW
                                      Washington, DC 20005
                                      (202) 339-8400

                                    —and—

                                       PHILLIPS, GOLDMAN & SPENCE, P.A.
                                       John C. Phillips, Jr. (#110)
                                      1200 North Broom Street
                                      Wilmington, DE 19806
                                      (302) 655-4200

                                      Co-Counsel to David T. Austern,
                                      Asbestos PI Future Claimants' Representative

Dated: October 9, 2009




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